






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00342-CR






Ex parte Rizwan Ali






FROM THE COUNTY COURT AT LAW NO. 1 OF WILLIAMSON COUNTY

NO. 08-04657-1, HONORABLE SUZANNE BROOKS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N 



		Appellant Rizwan Ali pleaded guilty to the offense of delivery of drug paraphernalia.
See Tex. Health &amp; Safety Code Ann. § 481.125(b) (West 2010).  Punishment was assessed at
180&nbsp;days in county jail and a fine of $4,000.  The trial court suspended imposition of the sentence
and placed Ali on community supervision for 12 months.  Subsequently, Ali filed an application for
writ of habeas corpus, alleging that his trial counsel was ineffective in failing to warn him of the
immigration consequences of his guilty plea.  The trial court denied the application.

		This appeal is a companion to the appeal of Ali's brother, Aftab Ali, who was charged
with a similar offense, pleaded guilty, and filed a similar application for writ of habeas corpus, which
the trial court also denied.  See Ex parte Ali, No. 03-11-00323-CR (Tex. App.--Austin May 16,
2012, no pet. h.) (op., designated for publication).  Other than minor factual differences that are not
material to our disposition, the procedural history, issues raised, and arguments made in both causes
are identical.  For the reasons stated in our opinion in cause number 03-11-00323-CR, we affirm the
order of the trial court.


						__________________________________________

						Bob Pemberton, Justice 

Before Chief Justice Jones, Justices Pemberton and Rose

Affirmed

Filed:   May 17, 2012

Do Not Publish


